Case 6:20-cv-01210-GAP-GJK Document 161 Filed 03/03/22 Page 1 of 2 PageID 2506




                         UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION


    STARLINE MEDIA, INC. and DAVID
    NDALAMBA,

                        Plaintiffs,

    v.                                                 Case No: 6:20-cv-1210-GAP-GJK

    ELISHA TRICE and
    JOMY STERLING

                        Defendants.


                                            ORDER
          This matter is before the Court on Plaintiffs’ Motion to Extend the Discovery

    Deadline and to Compel (Doc. 156). Plaintiffs ask the Court to compel Defendant

    Jomy Sterling (“Sterling”) to produce “all nonprivileged Royale High documents

    in her possession, custody, or control, including the Royale High place file that

    Sterling shared on October 3, 2019.” Doc. 156 at 8. In response, Sterling states that

    “in the interest of preserving judicial resources, [she] will assent to the relief

    requested by the Motion to Compel subject to the objections set forth below.” Doc.

    160 at 2. Her objections relate to factual concerns regarding the computer files that

    are not pertinent to resolution of Plaintiffs’ Motion. She otherwise agrees to

    produce the requested documents. Id.
Case 6:20-cv-01210-GAP-GJK Document 161 Filed 03/03/22 Page 2 of 2 PageID 2507




          Accordingly, it is hereby ORDERED that Plaintiffs’ Motion to Compel (Doc.

    156) is GRANTED as unopposed. Defendant Jomy Sterling shall provide Plaintiffs

    with all nonprivileged Royale High documents in her possession, custody, or

    control, including the Royale High place file that Sterling shared on October 3,

    2019, by 5:00pm on March 8, 2022.

          DONE and ORDERED in Chambers, Orlando, Florida on March 3, 2022.




    Copies furnished to:

    Counsel of Record
    Unrepresented Party




                                            -2-
